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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                               CASE NO. 1:94-cr-01009-MP-AK

JOHN RICHARD KNOCK,

      Defendant.
___________________________/

                                            ORDER

       This matter is before the Court on Doc. 1139, Motion for Certificate of Appealability

(“COA”), which was construed from Defendant’s Notice of Appeal (Doc. 1133) Defendant

seeks to appeal this Court’s October 3, 2008, order (Doc. 1128) denying his motion to vacate for

failure to seek leave from the Eleventh Circuit Court of Appeals before filing a second or

successive motion under § 2255. To obtain a COA when the district court has rejected a claim

on procedural grounds, the defendant must show that jurists of reason would find it debatable

whether (1) the petition states a valid claim of the denial of a constitutional right and (2) the

district court was correct in its procedural ruling. Slack v. McDaniel, 529 U.S. at 484; Franklin

v. Hightower, 215 F.3d 1196, 1199 (11th Cir. 2000) (per curiam). Defendant has failed to make
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this threshold showing. Accordingly, it is hereby

        ORDERED AND ADJUDGED:

        1.       Defendant’s Motion for Certificate of Appealability, Doc. 1139, is DENIED.

        2.       The Clerk is directed to forward a copy of this order and an updated docket sheet
                 to the Eleventh Circuit Court of Appeals.

        DONE AND ORDERED this             9th day of January, 2009


                                        s/Maurice M. Paul
                                   Maurice M. Paul, Senior District Judge




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